       Case 23-13359-VFP           Doc 3318 Filed 06/14/24 Entered 06/14/24 09:45:35                      Desc
                                     Hearing on BK Case Page 1 of 1
Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 23−13359−VFP
                                          Chapter: 11
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488

                                              NOTICE OF HEARING



PLEASE TAKE NOTICE that a hearing will be held at

Courtroom 3B, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ 07102

on 8/8/24 at 10:00 AM

to consider and act upon the following:


3309 − Motion re: for Order Establishing Streamlined Procedures Governing Adversary Proceedings Brought by
Plaintiff Pursuant to Sections 502, 542, 547, 548, 549, and 550 of the Bankruptcy Code Filed by Brigette G McGrath
on behalf of Michael Goldberg. (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C # 5 Certificate of
Service) (McGrath, Brigette)




Dated: 6/14/24

                                                           Jeanne Naughton
                                                           Clerk, U.S. Bankruptcy Court
